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]T SINGH, EsQ. Tel: (917) 768-4763
Singh Law, P.A. Fax; (212) 719-2461
1407 Broadway, suite 3412 `
New York, NY 10018-5154
]uly 16, 2018

Honorable Michael A. Hammer, U.S.M.].

United States Magistrate ]udge

United States District Court

For the District of New ]ersey

50 Walnut St #4015

Newark, N] 07102

Re: MOTION TO HOLD CASE IN ABEYANCE: GLADYS ECHEGOYEN v. U.S. STANDARD
HoLDINGS TRUST, ET AL.: CASE No.: 2:15-cv-06382-KM-MAH

Dear ]udge Hammer:

As the record shoWs, Defendants have been unable to find appropriate counsel, but l have
been recently admitted in this jurisdiction and have been retained to represent them in the
above-mentioned matter. l have reached out to the Plaintiff’s lawyer but has not responded to
my request and, therefore, submit this motion letter requesting to hold the Plaintiffs’ motion for
default judgment in abeyance and allow the annexed demand for discovery and inspection to
move forward.

Defendants have denied all of Plaintiff's allegations and had no opportunity to resolve the
case on the merits. No discovery has been performed and the Plaintiff has brought forth
allegations against the Defendants claiming unpaid minimum and overtime Wages in violation
under the Federal Fair Labor Standards Act, (hereinafter ”FLSA”) or unpaid minimum and
overtime Wages under the New ]ersey Department of Labor and Workforce Development
(hereinafter ”N]WHL”).

A federal trial court has the discretion to hold a case in abeyance. g Anthem Inc. v. Bristol-
Myers Sguibb Co., Civil Action No. 03-0008, 2003 U.S. Dist. LEXIS 15762, at *6 (D.N.]. Mar. 17,
2003), quoting Landis v. N. Am. Co. 299 U.S. 248, 254-55, 81 L. Ed. 153, 57 S. Ct. 163 (1936). The
Defendants have not defended such due to inability to retain adequate representation.

 

 

Wherefore, I respectfully request that this letter motion be considered and that this case and
any decision thereof be held in abeyance.

cc.: Michael Taubenfeld., Resp t lly submitted,
Serrins Fisher, LLP.,
Attorneys for Plaintz'#
233 Broadway
Suite 2340 NY, NY 10279

    

Attorney for Defendants
Enc.: Requests For Production

